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IN THE UNITED STATES DISTRICT COURT Oren cour
FOR THE WESTERN DISTRICT OF TENNESSEE ¢,, €D 8 18
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WESTERN DIVISION 2
DATE: “ 172 Oe
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TIME: —
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ECIMOS, LLC,
Plaintiff,

Case No. 2:15-cv-2726-JPM-cge
v.

CARRIER CORPORATION,

Defendant.

JURY VERDICT FORM

We, the jury, unanimously answer the following questions submitted by the Court as
follows:

BREACH OF CONTRACT
(ECIMOS’s Claim)

1. Has ECIMOS, LLC (“ECIMOS”) proven by a preponderance of the evidence that it
entered into a software licensing contract with Carrier Corporation (“Carrier”)?

Yes VY No

If your answer is “Yes,” proceed to Question 2.
If your answer is “No,” skip Questions 2 through 5 and proceed to Question 6.

2. Has ECIMOS proven by a preponderance of the evidence that Carrier materially
breached the software licensing contract, in a way that was not excused, by failing to pay
ECIMOS a license fee for installing and using ECIMOS’s software on the Windows 7
operating system? (Recall that a breach of contract by Carrier would be excused by an
earlier material breach of contract by ECIMOS. What constitutes a “material” breach is
discussed on page 34 of the Jury Instructions.)

Yes S/ No

Regardless of your answer, proceed to Question 3.

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3. Has ECIMOS proven by a preponderance of the evidence that Carrier materially
breached the software licensing contract, in a way that was not excused, by failing to
maintain the confidentiality of ECIMOS’s materials relating to ECIMOS’s software
and/or hardware drawings? (Recall that a breach of contract by Carrier would be excused
by an earlier material breach of contract by ECIMOS. What constitutes a “material”
breach is discussed on page 34 of the Jury Instructions.)

Yes 4 No

If you answered “Yes” to Questions 2 and/or 3, proceed to Question 4.
Otherwise, skip Questions 4 and 5 and proceed to Question 6.

4, Has ECIMOS proven by a preponderance of the evidence that Carrier’s breach or
breaches of the software contract caused damages to ECIMOS?

Yes No

If your answer is “Yes,” proceed to Question 5.
If your answer is “No,” skip Question 5 and proceed to Question 6.

5. You have returned a verdict in favor of ECIMOS on its breach of contract claim. What
amount of damages do you find that ECIMOS should recover as a result of Carrier’s
breach of contract?

Amount $ [ } 400, CO0.0 O

What amount of damages that you awarded under this question, if any, is already
included within any amount of damages that you have previously awarded ECIMOS for
misappropriation of trade secrets under Question 13 and/or copyright infringement under
Question 19?

Amount $ (misappropriation of trade secrets)

Amount $ (copyright infringement)

Regardless of your answer, proceed to Question 6.
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BREACH OF CONTRACT

(Carrier’s Claim)

6. Has Carrier proven by a preponderance of the evidence that it entered into a service
contract with ECIMOS?

Yes YY No

If your answer is “Yes,” proceed to Question 7.
If your answer is “No,” skip Questions 7 through 9 and proceed to Question 10.

7. Has Carrier proven by a preponderance of the evidence that ECIMOS materially
breached the service contract in a way that was not excused? (Recall that a breach of
contract by ECIMOS would be excused by an earlier material breach of contract by
Carrier. What constitutes a “material” breach is discussed on page 34 of the Jury
Instructions.)

Yes No 4

If your answer is “Yes,” proceed to Question 8.
If your answer is “No,” skip Questions 8 and 9 and proceed to Question 10.

8. Has Carrier proven by a preponderance of the evidence that ECIMOS’s breach of the
service contract caused damages to Carrier?
Yes No
If your answer is “Yes,” proceed to Question 9.

If your answer is “No,” skip Question 9 and proceed to Question 10.

9, You have returned a verdict in favor of Carrier on its breach of contract claim. What
amount of damages do you find that Carrier should recover as a result of ECIMOS’s
breach of contract?

Amount $

Regardless of your answer, proceed to Question 10.
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10.

11.

TRADE SECRET MISAPPROPRIATION

Has ECIMOS proven by a preponderance of the evidence that any of the following are
trade secrets:

a. ECIMOS’s software source code, including the algorithms for the valid tests and test
procedures and the way the software source code interacts with ECIMOS’s database?

Yes 4 No

b. ECIMOS’s assembled hardware drawings and wiring diagrams?

Yes \ / No

If your answer is “Yes” to any subpart of Question 10, proceed to Question 11.
Otherwise, skip Questions 11 through 14 and proceed to Question 15.

Has ECIMOS proven by a preponderance of the evidence that Carrier misappropriated
any of the following information that you have already determined to be trade secrets:

a. ECIMOS’s software source code, including the algorithms for the valid tests and test
procedures and the way the software source code interacts with ECIMOS’s database?

Yes Y No
b. ECIMOS’s assembled hardware drawings and wiring diagrams?

Yes / No

If your answer is “Yes” to any subpart of Question 11, proceed to Question 12.
Otherwise, skip Questions 12 through 14 and proceed to Question 15.
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12.

13.

Has ECIMOS proven by a preponderance of the evidence that it suffered detriment as a
result of the misappropriation of any of the following trade secret information that you
have already determined to be trade secrets and that you have already determined were
misappropriated by Carrier:

a. ECIMOS’s software source code, including the algorithms for the valid tests and test
procedures and the way the software source code interacts with ECIMOS’s database?

Yes No VY

b. ECIMOS’s assembled hardware drawings and wiring diagrams?

Yes No _\4

If your answer is “Yes” to any subpart of Question 12, proceed to Question 13.
Otherwise, skip Questions 13 through 14 and proceed to Question 15.

You have returned a verdict in favor of ECIMOS on its trade secret misappropriation
claim. What amount of damages do you find that ECIMOS should recover as a result of
Carrier’s misappropriation of ECIMOS’s trade secrets?

Amount $ ECIMOS’s actual loss

Amount $ Carrier’s additional profits due to
misappropriation of trade secrets

Or, instead of the above two measures:

Amount $ Reasonable royalty

What amount of damages that you awarded under this question, if any, is already
included within any amount of damages that you have previously awarded ECIMOS for
breach of contract under Question 5 and/or copyright infringement under Question 19?

Amount $ (breach of contract)

Amount $ (copyright infringement)

Regardless of your answer, proceed to Question 14.
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14. | Has ECIMOS proven by clear and convincing evidence that Carrier’s misappropriation of
ECIMOS’s trade secrets was willful and malicious? (The “clear and convincing
evidence” standard is explained on page 71 of the Jury Instructions, along with the
definition of “willful” and “malicious” acts.)

Yes No

Regardless of your answer, proceed to Question 15.

COPYRIGHT INFRINGEMENT

15. | Has ECIMOS proven by a preponderance of the evidence that it owns a valid copyright
with respect to its Run Test software source code? (Recall that by producing a copyright
registration, ECIMOS has established a presumption that it owns a valid copyright in the
registered material.)

Yes 4 No

If your answer is “Yes,” proceed to Question 16.
If your answer is “No,” skip Question 16 and proceed to Question 17.

16. | Has ECIMOS proven by a preponderance of the evidence that Carrier copied the
protected elements of ECIMOS’s Run Test software source code? (Several unprotected
elements of the source code are listed on page 56 of the Jury Instructions.)

Yes No_ |Z

Regardless of your answer, proceed to Question 17.

17. Has ECIMOS proven by a preponderance of the evidence that it owns a valid copyright
with respect to its Run Test database script source code? (Recall that by producing a
copyright registration, ECIMOS has established a presumption that it owns a valid
copyright in the registered material.)

Yes Vf No

If your answer is “Yes,” proceed to Question 18.
If your answer is “No,” skip Question 18 and proceed to Question 19.
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18. Has ECIMOS proven by a preponderance of the evidence that Carrier copied the
protected elements of ECIMOS’s Run Test database script source code? (Several
unprotected elements of the source code are listed on page 56 of the Jury Instructions.)

Yess Y No

Regardless of your answer, proceed to Question 19.

19. If and only if you answered “Yes” to at least one of Questions 16 or 18, you have
returned a verdict for ECIMOS on its copyright infringement claim and you must answer
the following question: What amount of damages do you find that ECIMOS should
recover as a result of Carrier’s infringement of ECIMOS’s copyrighted material? (If you
answered “No” to both of Questions 13 and 15, do not answer this question.)

Amount $ \, 000, G00 - oo ECIMOS’s actual damages

Amount $ 5, 000, C00 . 6 O Carrier’s additional profits due to
copyright infringement

What amount of damages that you awarded under this question, if any, is already
included within any amount of damages that you have previously awarded ECIMOS for
breach of contract under Question 5 and/or misappropriation of trade secrets under
Question 13?

Amount $ OQ (breach of contract)

Amount $ OQ (misappropriation of trade secrets)

Once completed, sign the verdict form and return it to the Court.

JURY FOREPERSON

Date: Quik, GU, LNG.
Gg °

